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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. ____________________


COÖPERATIEVE RABOBANK U.A., NEW
YORK BRANCH, BROWN BROTHERS                            Removed from:
HARRIMAN & CO., BANK HAPOALIM
B.M., MITSUBISHI INTERNATIONAL                         Circuit Court of the 11th Judicial Circuit in
CORPORATION, ICBC STANDARD BANK                        and for Miami-Dade County, Florida
PLC, TECHEMET METAL TRADING, LLC,
MERCED PARTNERS LTD. PARTNERSHIP,                      Civil Division
ATHILON CAPITAL CORP., and HAIN
CAPITAL INVESTORS MASTER FUND,                         Case No.: 2020-007685-CA-01
LTD.,

        Plaintiffs,

v.

EISNERAMPER LLP,

      Defendant.
______________________________________/

                                      NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that Defendant EisnerAmper LLP (“EisnerAmper”), pursuant

to 28 U.S.C. §§ 1334(b), 1441, 1446, and 1452, hereby removes the entire above-captioned civil

action, and all claims and causes of action in that action, from the Circuit Court of the Eleventh

Judicial Circuit in and for Miami-Dade County, Florida, Civil Division, to the United States

District Court for the Southern District of Florida. 1 The Complaint in this action is related to a

pending bankruptcy proceeding in the Bankruptcy Court for the Southern District of New York,

under Chapter 11 of the Bankruptcy Code.




        1
          EisnerAmper will promptly file a motion to transfer this case to the United States District Court
for the Southern District of New York.
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        EisnerAmper respectfully provides the following statement in support of this removal:

        1.      On or about April 3, 2020, Plaintiffs filed this action in the Circuit Court of the

Eleventh Judicial Circuit in and for Miami-Dade County, Florida. The case was assigned Case

Number 2020-007685-CA-01.

        2.      Defendant EisnerAmper was served on April 24, 2020.

        3.      Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of the Complaint is

attached to this Notice of Removal as Exhibit 1. A copy of the docket in the action is attached as

Exhibit 2. 2 There are no pending motions, and no responsive pleading or motion has been filed

yet.

        Statutory Basis for Jurisdiction and Removal

        4.       28 U.S.C. § 1441(a) provides for removal of this action:

        Except as otherwise expressly provided by Act of Congress, any civil action brought in
        a State court of which the district courts of the United States have original jurisdiction, may
        be removed by the defendant or the defendants, to the district court of the United States for
        the district and division embracing the place where such action is pending.

        5.      28 U.S.C. § 1334(b) provides for original jurisdiction in the district courts in cases

related to certain bankruptcy cases:



        2
         Also attached are Exhibits 3 through 12, consisting of the all of the remaining documents filed in
the Circuit Court action removed to this Court, Coöperatieve Rabobank U.A., New York Branch et al. v.
EisnerAmper LLP, Case No. 2020-007685-CA-01, Eleventh Jud. Cir. Court, Miami-Dade County, FL:
Electronic Civil Summons 20 Day (Ex. 3); Issued Civil Summons. (Ex. 4); Order on Motions and Memo
Requirements (Ex. 5); Mandatory Order to Confer and Certification Requirement (Ex. 6); Notice and Order
of Adherence to Complex Business Litigation Section Procedures (Ex. 7); Notice of Designation of Email
Address (Ex. 8); Verified Motion to Appear Pro Hac Vice Pursuant to Rule 1-3.11, Rules Regulating the
Florida Bar and Florida Rule of Judicial Administration 2.510 of Andrew Solomon (Ex. 9); Order Granting
Motion for Admission to Appear Pro Hac Vice Pursuant to Florida Rule of Judicial Administration 2.510
(of Andrew Solomon) (Ex. 10); Notice of Special Set Hearing CMC (Ex. 11); Notice and Order of
Adherence to Complex Business Litigation Section Procedures and Notice of Hearing and Order on Case
Management Conference (this document is not available to download as it is listed as “Pending Redaction”
and therefore not attached although it appears on the docket); and Notice of Appearance and Designation
of Email Addresses (Ex. 12).


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        Except as provided in subsection (e)(2), and notwithstanding any Act of Congress that
        confers exclusive jurisdiction on a court or courts other than the district courts, the district
        courts shall have original but not exclusive jurisdiction of all civil proceedings arising
        under title 11, or arising in or related to cases under title 11.
        6.      28 U.S.C. § 1452(a) provides for removal to this Court, as the action is currently

pending in Miami-Dade County, which is within this District.

        A party may remove any claim or cause of action in a civil action other than a proceeding
        before the United States Tax Court or a civil action by a governmental unit to enforce such
        governmental unit’s police or regulatory power, to the district court for the district where
        such civil action is pending, if such district court has jurisdiction of such claim or cause of
        action under section 1334 of this title.

        The Republic Bankruptcy

        7.      As the Complaint demonstrates, the claims in this action are related to the pending

Chapter 11 bankruptcy proceedings of Republic Metals Corporation (“Republic”), which was filed

in November 2018 in the Southern District of New York and remains pending. See Complaint

(Exhibit 1 hereto) ¶¶ 4, 68-69.

        8.      Republic and several of its affiliated companies filed Chapter 11 bankruptcy

petitions in the U.S. Bankruptcy Court for the Southern District of New York on November 2,

2018. 3 See In re Republic Metals Refining Corporation, Case No. 18-13359 (U.S. Bankr. Ct.

S.D.N.Y.) (the “Republic Bankruptcy”), D.E. 1.

        Parties

        9.      The Plaintiffs in this case (or their predecessors), Coöperatieve Rabobank U.A.,

New York Branch, Brown Brothers Harriman & Co., Bank Hapoalim B.M., Mitsubishi

International Corporation, ICBC Standard Bank PLC, Techemet Metal Trading, LLC, Woodforest




        3
          Republic Metals Corporation and its subsidiaries and affiliates each filed bankruptcy petitions,
and all are jointly administered under Case No 18-13359.


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National Bank 4, and Bank Luemi USA 5, appeared in the Republic Bankruptcy and asserted their

rights as senior secured lenders to the Debtors. Republic Bankruptcy, D.E. 21.

        10.     Defendant EisnerAmper was Republic’s auditor for the year ended December 31,

2016. Complaint ¶ 1, 22.

        11.      According to the Plaintiffs, at the time of the Bankruptcy Petition, Republic was

indebted to the Plaintiffs for more than $177 million. Complaint ¶ 69. They allege that they relied

on EisnerAmper’s audit of Republic for the year ended December 31, 2016, id. ¶ ¶ 47-62, 74, and

that their damages exceed $60 million. Id. ¶ 76.

        Relatedness

        12.     Each of the Plaintiffs was a secured lender to Republic. They are included in the

reference to Secured Parties in Republic’s Plan of Liquidation in the Republic Bankruptcy.

        13.     Each of the Plaintiffs alleges that it received and relied on a copy of EisnerAmper’s

Audit Report in connection with its lending relationship with Republic. Complaint ¶¶ 47-62.

                Republic’s Confirmed Plan and Plaintiffs’ Assignment of Claims

        14.     As set forth below, any claims (or proceeds of claims) that the Plaintiffs may have

against EisnerAmper are assigned to the Liquidation Trust established in connection with

Republic’s Plan of Liquidation.

        15.     The Plan of Liquidation for Republic was confirmed on December 23, 2019 (the

“Plan”). Republic Bankruptcy, D.E. 1668. It became effective on January 7, 2020. Id., D.E. 1682.

        16.     “Secured Parties” in the Plan are defined as



        4
          Woodforest is the predecessor in interest to Athilon Capital Corp.. LLC and Merced Limited
Partnership, plaintiffs in this matter. See Complaint ¶ 13.
        5
          Bank Leumi is the predecessor in interest to Hain Capital Investors Master Fund, Ltd., plaintiff in
this matter. See Complaint ¶ 14,


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         1.92. Secured Parties. Coöperatieve Rabobank U.A., New York Branch, Brown Brothers
         Harriman & Co., Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC
         Standard Bank Plc, Techemet Metal Trading LLC, Woodforest National Bank, Bank
         Leumi USA, and including their transferees and successors in interest, including but not
         limited to Hain Capital Investors Master Fund, Ltd., Merced Partners Limited Partnership
         and Athilon Capital Corp. LLC.

         Id. D.E. 1668 at 56. These are the Plaintiffs in this action.

         17.    The Debtor’s confirmed plan of liquidation provides for “MEANS FOR

EXECUTION AND IMPLEMENTATION OF THE PLAN” via a Litigation Trust in Article 8.

Republic Bankruptcy, D.E., 1668 at 68.

         18.    The claims (or proceeds of claims) in this action were assigned to the Litigation

Trust:

                a.      ¶ 8.1.5. Assignment of Claims to Litigation Trust. On the Effective Date,
                        the . . . the Secured Parties shall assign and be deemed to have assigned the
                        Assigned Claims and the Assigned Proceeds of Auditor Claims to the
                        Litigation Trust…

         Republic Bankruptcy, D.E. 1668 at 68.

                b.      Assigned claims and Assigned proceeds are defined as

                ¶ 1.13. Assigned Claims. All Causes of Action that any Secured Party may have
                against any . . . . auditor, [or] accountant, . . . arising out of or relating in any way
                to the Secured Parties relationship or transactions with the Debtors, including
                without limitation, . . .(y) the Auditor/Lender Claims.

                ¶ 1.14. Assigned Proceeds of Auditor Claims. The Litigation Trust’s portion of
                the net proceeds of any Auditor/Lender Claim pursuant to the Auditor Claim
                Waterfall.

         Id., D.E. 1668 at 49 (emphasis added)

                c.      Auditor/Lender Claims are defined as :

                ¶ 1.15. Auditor/Lender Claim. Any rights, claims, and causes of action that
                Secured Parties have or may have against Maria I. Machado, P.A., Crowe LLP and
                EisnerAmper LLP that arise out of or relate in any way to the Secured Parties’
                relationship or transactions with the Debtors, . . .



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       Id., D.E. 1668 at 49.

       19.     Proceeds of claims such as those set forth in the Complaint in this action become

the source of funds for the Litigation Trust:

               ¶ 1.16. Auditor Claim Waterfall. Subject to any reasonable agreement with
               respect to a contingency fee, the net proceeds of any Auditor/Lender Claim shall
               be distributed (i) first, 100% to the Secured Parties until the Secured Parties receive
               $3,000,000; (ii) second, 50% to the Secured Parties and 50% to the Litigation Trust
               until the Secured Parties receive an additional $5,500,000; and (iii) third, 100% to
               the Litigation Trust.

       Republic Bankruptcy, D.E. 1668 at 50.

               ¶ 1.66. Litigation Recoveries. The Assigned Proceeds of Auditor Claims plus the
               net proceeds, other than the Secured Party Litigation Recovery Right, of (a) the
               Assigned Claims and (b) Retained Causes of Action.

       Id. at 54

               ¶ 1.102. Trust Assets. The Estate Litigation Fund, 503(b)(9) Fund, the Retained
               Causes of Action, the Assigned Claims, the Assigned Proceeds of Auditor Claims,
               the Ownership Reserve, and the Priority Reserve, Disputed Claims Reserve,
               together with any and all income earned on and proceeds of such assets, and any
               and all other Assets of the Debtors that have not been abandoned.

       Id. at 57.

       20.     Indeed, the Plaintiffs cannot resolve the claims in the Complaint without consent

from the Litigation Trustee:

               ¶ 8.5.2. The Secured Parties shall not terminate or withdraw from any
               Auditor/Lender Claims, except as provided for under this Section 8.5 or upon the
               consent of the Litigation Trustee, which consent shall not be unreasonably
               withheld. The Secured Parties shall not settle any Auditor/Lender Claims without
               the prior approval of the Litigation Trustee, which approval shall not be
               unreasonably withheld.
               ....
               ¶ 8.5.5. The Secured Parties shall consult with the Litigation Trustee on any
               significant matters relating to the prosecution of the Auditor Claims.

   D.E. 1668, at 70.

       21.     The Litigation Trust funds Republic’s Plan of Liquidation.


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               ¶1.4 Nature and Purpose of Litigation Trust.
               (a) Purpose. The purposes of the Litigation Trust are to hold and effectuate an
               orderly disposition of the Trust Assets, to resolve Claims and prosecute Retained
               Causes of Action and Assigned Claims, to attend to matters concerning the
               Auditor/Lender Claims pursuant to Section 8.5 of the Plan, to distribute or pay over
               the Trust Assets, or proceeds thereof, in accordance with this Agreement and the
               Plan, and to wind-down the Estates of the Debtors, with no objective or authority
               to engage in any trade or business.

       Republic Bankruptcy, D.E. 1668 at 90, Litigation Trust Agreement.

       Removal Jurisdiction

       22.     Based upon the foregoing, the claims in the Complaint are related to the Republic

Chapter 11 Bankruptcy.

       23.     Therefore, removal is appropriate because this Court has subject matter jurisdiction

over this matter pursuant to 28 U.S.C. §§1334 (b) and 1452(a), and the action could have been

brought in this Court originally.

       24.     The Complaint is pending in Miami-Dade County, which is within the Southern

District of Florida. Thus, jurisdiction on removal is appropriate in this Court.

       Timeliness

       25.     Defendant EisnerAmper was served on April 24, 2020.

       26.     This notice is timely filed under 28 U.S.C.§ 1441(a), as it is filed within 30 days of

service.

       Legal Authority

       27.      “The usual articulation of the test for determining whether a civil proceeding is

related to bankruptcy is whether the outcome of the proceeding could conceivably have an effect

on the estate being administered in bankruptcy. The proceeding need not necessarily be against

the debtor or the debtor’s property. An action is related to bankruptcy if the outcome could alter

the debtor’s rights, liabilities, options, or freedom of action (either positively or negatively) and



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which in any way impacts upon the handling and administration of the bankruptcy estate.” In re

Toledo, 170 F.3d 1340, 1345 (11th Cir. 1999) (quoting Matter of Lemco Gypsum, Inc., 910 F.2d

784, 788 (11th Cir. 1990)). This jurisdictional grant is “extremely broad.” Toledo, 170 F.3d at

1345. Because these claims or their proceeds are assigned in part to the Litigation Trust which

forms an integral part of the Plan, they impact the handling and administration of the bankruptcy

estate.

          28.    An action is “related to” a bankruptcy proceeding even when the claims are between

third parties.

          Congress did not delineate the scope of “related to”5 jurisdiction, but its choice of words
          suggests a grant of some breadth. The jurisdictional grant in § 1334(b) was a distinct
          departure from the jurisdiction conferred under previous Acts, which had been limited to
          either possession of property by the debtor or consent as a basis for jurisdiction. . . .
          Congress intended to grant comprehensive jurisdiction to the bankruptcy courts so that they
          might deal efficiently and expeditiously with all matters connected with the bankruptcy
          estate . . .

Celotex Corp. v. Edwards, 514 U.S. 300, 307–9 (1995) (citations and quotations omitted).

          Other Procedural Matters:

          29.    In 2019, Plaintiffs or their predecessors in interest sued the previous auditors for

Republic. Coöperatieve Rabobank U.A., New York Branch, et. al, v. Crowe, LLP, Case No. 2019-

018945 (CA 01) (Fla. 11th Jud. Cir.). That case was promptly removed to this Court as related to

the pending Republic Bankruptcy. Coöperatieve Rabobank U.A., New York Branch, et. al, v.

Crowe, LLP, Case No. Case 1:19-cv-23100-DPG (S.D. Fla.). Although Plaintiffs moved for an

order of remand [D.E. 7], the District Court, on the motion of Crowe, transferred the action to the

United States District Court for the Southern District of New York, allowing the motion for remand

to be determined in New York.. Id., D.E. 16 (S.D. Fla. Feb. 20, 2020). The Southern District of

New York then transferred the case to the Bankruptcy Court. Coöperatieve Rabobank U.A., New

York Branch, et. al, v. Crowe, LLP, Case No. 1:20-cv-01556-LGS, D.E. 24 (S.D.N.Y. Mar. 16,


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2020). The action is pending in the Bankruptcy Court as Coöperatieve Rabobank U.A., New York

Branch, et. al, v. Crowe, LLP, Adv. Proc. No. 20-01061-shl (S.D.N.Y Bktcy.). The Plaintiffs did

not contest subject matter jurisdiction under the “related to” test.

       30.     This is not a core proceeding. EisnerAmper does not waive its right to a jury trial,

nor does it consent to trial by or entry of a final judgment by the Bankruptcy Court.

       31.     A copy of this Notice will be served immediately after its filing with this Court by

email on counsel for the Plaintiffs and filed electronically with the Circuit Court for the Eleventh

Judicial Circuit of Florida, where the Complaint is presently pending.

       32.     Copies of all filings in the action pending in the state court are attached hereto.

       33.     Shortly after filing this Notice of Removal, Defendant intends to move this Court

to transfer the matter to the United States District Court for the Southern District of New York,

where by standing order of that Court, the action will likely be further transferred to the Bankruptcy

Court for the Southern District of New York for all appropriate pretrial matters.

       34.     Defendant further intends to respond to the Complaint with a motion to dismiss.

       WHEREFORE, Defendant EisnerAmper requests that the Court accept the removal of

this entire action from the Circuit Court for the Eleventh Judicial Circuit of Florida, in Miami-

Dade County, Florida.




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Dated: May 13, 2020                                 Respectfully submitted,

                                                    /s/ Deborah S. Corbishley
                                                    Deborah S. Corbishley
                                                    Richard H. Critchlow
                                                    KENNY NACHWALTER, P.A.
                                                    Four Seasons Tower - Suite 1100
                                                    1441 Brickell Avenue
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                                                    Facsimile: (305) 372-1861
                                                    rcritchlow@knpa.com
                                                    dcorbishley@knpa.com

                                                    Attorneys for Movant Defendant
                                                    EisnerAmper LLP



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 13, 2020, the foregoing document was electronically

filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

being served this day on all counsel of record via electronic mail upon counsel listed on attached

the service list.



                                                    s/ Deborah S. Corbishley
                                                    Deborah S. Corbishley




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                                     SERVICE LIST

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 Attorneys for Plaintiffs




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       IN THE CIRCUIT COURT OF THE 11th
       JUDICIAL CIRCUIT IN AND FOR
       MIAMI-DADE COUNTY, FLORIDA

       CIVIL DIVISION

       CASE NO:
                                                    :
        COÖPERATIEVE RABOBANK U.A.,
        NEW YORK BRANCH, BROWN                      :
        BROTHERS HARRIMAN & CO., BANK
        HAPOALIM B.M, MITSUBISHI                    :
        INTERNATIONAL CORPORATION,
        ICBC STANDARD BANK PLC,                     :
        TECHEMET METAL TRADING, LLC,
        MERCED PARTNERS LIMITED                     :
        PARTNERSHIP, ATHILON CAPITAL
        CORP., LLC, and HAIN CAPITAL                :
        INVESTORS MASTER FUND, LTD.,
                                                    :
        Plaintiffs,
                                                    :
               v.
                                                    :
        EISNERAMPER LLP,
                                                    /
        Defendant.

                                                   COMPLAINT

                Plaintiffs Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers

        Harriman & Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International

        Corporation (“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading, LLC

        (“Techemet”), Merced Partners Limited Partnership (“Merced”) and Athilon Capital Corp., LLC

        (“Athilon”), as successors to Woodforest National Bank (“Woodforest”), and Hain Capital

        Investors Master Fund, Ltd. (“Hain Capital”), as successor to Bank Leumi USA (“Leumi”), by and

        through their undersigned attorneys, for their Complaint against Defendant EisnerAmper LLP

        (“Eisner”), allege as follows:
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                                         NATURE OF THE CASE

          1.       Plaintiffs (or their predecessors in interest) provided secured credit facilities and

associated loans and precious metal leases to Republic Metals Corporation (“Republic”)1, a

precious metals refiner based in Opa Locka, Florida. They bring this lawsuit against Republic’s

former auditor, Eisner, to recover damages caused by the inaccurate clean audit report recklessly

issued by Eisner for Republic’s 2016 financial statements. Eisner issued its audit opinion knowing

that it would be used and relied upon by Republic’s creditors, including Plaintiffs. The audited

financial statements represented that Republic had precious metals inventory valued at $134.8

million. In fact, the number was a fiction and the true value of Republic’s actual inventory was a

fraction of that amount.

          2.       In conducting its audit, Eisner knew that Republic’s inventory valuation was based

on nearly 2,000 drums of hydroxide—a refinery byproduct—that purportedly contained millions

of dollars of extractable silver and gold. This inventory was the most significant asset on

Republic’s balance sheet, representing over 50% of the current assets reported on its 2016 balance

sheet. For an auditor, high-value inventory items always require careful scrutiny, but this is

especially so when each unit of inventory—here, a drum of a hydroxide mixture—differs in value,

weight, and composition from unit to unit. But Eisner, evidently lacking the requisite industry

knowledge and in derogation of Generally Accepted Audit Standards (“GAAS”), blindly accepted

Republic’s counts and valuation methodologies at face value, without conducting any independent

testing, verification, or other assurance procedures, and without even understanding what Republic

was doing. Moreover, in failing to audit inventory, Eisner ignored red flags showing that

Republic’s inventory values were wildly overstated—including the very fact that Republic was



1
    Now known as Miami Metals II, Inc.

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sitting on so many unprocessed drums of byproduct of substantial value (over $100 million in

precious metals), which it had yet to monetize.

       3.      In extending credit to Republic, Plaintiffs relied on Eisner’s professional audit

opinion, including that Republic’s 2016 financial statements fairly presented, in all material

respects, Republic’s financial position and results of operations and that they were prepared in

accordance with Generally Accepted Accounting Principles (“GAAP”). Neither was true. Had

Eisner exercised due professional care and the requisite degree of professional skepticism, the

misstatements and errors in Republic’s financial statements would have been easily detected. But

Eisner did not conduct an audit in accordance with GAAS. Indeed, its “audit” of inventory

amounted to no audit at all and its procedures were no more thorough than checking arithmetic

based on inputs provided by Republic’s management. When an auditor ignores obvious risks and

utterly abandons the guidelines and principles that govern the profession, its culpability moves

beyond mere negligence to extreme recklessness, and that is how Eisner’s performance must be

viewed here.

       4.      In November 2018, Republic filed for Chapter 11 bankruptcy as a result of what

Republic described as “a significant discrepancy in its inventory accounting.” As of that date,

Republic owed the Plaintiffs over $177 million under loans and metal leases, which it could not

repay. Of this amount, approximately $135 million remains unpaid as of today and, of that amount,

no less than $61.5 million is likely to remain outstanding after expected distributions from

Republic’s bankruptcy estate are made.

       5.      This complaint brings claims for negligent misrepresentation, gross negligence, and

common law fraud.

                                            PARTIES

       6.      The Plaintiffs are a group of financial institutions and precious metals lessors that

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(directly or through their predecessors in interest) extended nearly $200 million in credit to

Republic pursuant to certain secured credit and lease agreements.

       7.      Plaintiff Rabobank is a foreign branch office of a financial institution incorporated

and existing under the laws of the Netherlands with its principal place of business located as 245

Park Avenue, New York, New York 10167.

       8.      Plaintiff BBH is a New York limited partnership with its principal place of business

located at 140 Broadway, New York, New York 10005.

       9.      Plaintiff Hapoalim is a foreign branch office of a financial institution incorporated

and existing under the laws of Israel with its principal place of business in the United States located

at 1120 Avenue of the Americas, New York, New York 10036.

       10.     Plaintiff Mitsubishi is a New York corporation with its principal place of business

located at 655 Third Avenue, New York, New York 10017.

       11.     Plaintiff ICBCS is a corporation incorporated and existing under the laws of

England and Wales with its principal place of business located at 20 Gresham Street, London,

EC2V 7JE, United Kingdom.

       12.     Plaintiff Techemet is a Texas corporation with its principal place of business

located at 6025 Genoa Red Bluff Road, Pasadena, Texas 77507.

       13.     Plaintiffs Merced and Athilon purchased Woodforest’s rights, claims and privileges

associated with Republic’s obligations to Woodforest. Plaintiff Merced is a Delaware limited

partnership, and Plaintiff Athilon is a Delaware limited liability company, both maintaining a

principal place of business located at 601 Carlson Parkway, Ste. 200, Minnetonka, Minnesota

55305. (Woodforest, is a national banking association with its principal place of business located

at 1330 Lake Robbins, Suite 100, The Woodlands, Texas 77380.)



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       14.     Plaintiff Hain Capital purchased Leumi’s rights, claims, and privileges arising in

connection with Republic’s obligations to Leumi. Hain Capital is organized under the laws of the

Cayman Islands, with its principal place of business located at 301 Route 17, 7th Floor, Rutherford,

New Jersey 07070. (Leumi is a New York chartered bank with its principal place of business

located at 579 Fifth Avenue, New York, New York 10017.)

       15.     Defendant Eisner, is a national public accounting firm with offices around the

country, including offices in Fort Lauderdale, West Palm Beach, and at 1001 Brickell Bay Drive,

Miami, Florida 33131. It is registered as a limited liability partnership in the State of Florida with

the Florida Secretary of State, Division of Corporations, and is licensed as a CPA Firm with the

Florida Department of Business and Professional Regulation (License Number AD64074).

                                 JURISDICTION AND VENUE

       16.     This Court has general subject matter jurisdiction because this is a civil dispute

involving more than $25,000. It has personal jurisdiction over Defendant Eisner under Florida’s

long-arm statute, Fla. Stat. § 48.193, in that Plaintiffs’ causes of action arise out of Eisner’s

engaging in business in the state and from tortious acts and omissions committed within the state.

Venue is proper in this Circuit under Fla. Stat. § 47.011, because Eisner resides in Miami-Dade

County.

                                  FACTUAL BACKGROUND

       Republic Metals Corporation

       17.     Republic, incorporated in the State of Florida in 1980, was in the business of

refining, selling, and brokering precious metals. The company was family-owned and was

operated by Chief Executive Officer Jason Rubin. Its Chief Financial Officer was David Comite.

Republic acquired minimally processed gold and silver and processed it into finished metal at its

refinery located in Opa Locka, Florida. Both Rubin and Comite worked out of Republic’s offices

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at the refinery site.

        18.      In its early days, Republic primarily refined gold, but in 2013 it shifted its focus to

silver. The process for refining gold and silver is not the same. Gold refining involves melting,

whereas silver refining is mainly a chemical process. Moreover, the silver refining process takes

longer, and the process involves a much larger volume of raw materials. A byproduct from the

silver refining process is a hydroxide sludge, which contains the remnants from the refining

process, mainly water, copper, and various quantities of precious metals that were not extracted

through the main refining process.

        19.      As Republic ramped up its silver refining operations, it generated substantial

quantities of the hydroxide byproduct, which it stored in drums (numbering nearly 2,000 in 2016).

These drums of hydroxide sludge were reported in aggregate on Republic’s balance sheet as

inventory and represented the single largest asset for each year.

        20.      Republic obtained working capital for its operations through precious metal leases

and loans provided under the Intercreditor credit facilities further described below. These credit

facilities were secured by Republic’s purported precious metals inventory.

        Eisner’s Negligent Audit of Republic’s Precious Metals Inventory

        21.      Republic’s 2014 and 2015 financial statements were audited by Crowe Horwath

LLP (“Crowe”). Crowe performed its audit functions negligently and failed to discover that

Republic’s inventory value was wildly overstated.2

        22.      In October 2016, Republic fired Crowe and engaged Eisner to audit its 2016

financial statements. Eisner’s engagement agreement, dated December 2, 2016, was signed by


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  Plaintiffs sued Crowe in the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County, Florida.
Crowe removed the case to the United States District Court for the Southern District of Florida and sought to
transfer the case to the Southern District of New York; Plaintiffs moved to remand. The transfer motion was granted
and the abstention/remand motion is sub judice in the federal court in New York.

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Eisner partner Travis Epp and addressed to Republic’s CFO Comite at Republic’s offices in

Florida, where Comite signed the engagement agreement.

       23.     In mid-April 2017, Eisner’s audit personnel visited Republic’s Florida offices for

an on-site inspection and to begin the 2016 year-end audit. In connection with that visit, Republic

provided Eisner with a trial balance showing an inventory value of $134,455,218.96.

       24.     Before Eisner’s visit, Republic had supplied Eisner with a “narrative,” which

purported to explain its inventory processes. Republic claimed to maintain a “perpetual inventory

system,” which it tracked through its software system and verified with physical counts. The

narrative also identified four categories of inventory, of which three contained precious metals:

“The vault” (finished goods), “Bars inventory” (metals yet to be refined), and “Sweeps”

(byproducts stored in “large drums” that contain “low grade materials”). The other inventory

category (not relevant here) was “Diamonds.”

       25.     In designing and conducting its audit procedures, Eisner should have made

inventory a major focus. It is well known that fictitious inventory has been at the center of

numerous significant cases of fraudulent and misstated financial reporting. As a general matter,

under GAAS, observation and verification of inventory counts are mandatory components of an

audit, and the valuation of inventory is always a key part of an audit because of its materiality and

the high risk of errors or misstatements. At Republic, further scrutiny was required because its

reported inventory value represented such a large proportion of the overall value of the current

assets on the balance sheet. From an audit perspective, inventory at Republic presented a

significant risk of material misstatement and, thus, required an appropriate audit response.

       26.     On April 18, 2017, Republic provided Eisner with accounting work papers,

including a chart entitled “December 2016 INVENTORY.” The chart purported to breakout



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inventory by type (e.g., Gold, Silver, Platinum, Palladium, etc.) and to classify it according to its

category (e.g., Vault, Bars, Sweeps, and Refinery). The largest component of inventory by weight

and value was silver in the refinery (7,753,042.96 troy ounces valued at $125,909,417.67 (as of

12/31/16)), a category that was not described in Republic’s inventory narrative.

       27.     On April 19, 2017, Republic supplied Eisner with separate spreadsheets,

corresponding to each of the precious metal inventory categories described in the inventory

narrative. These spreadsheets were named: “December Bars Inventory.xlsx,” “December Sweeps

inventory.xlsx,” and “December Vault Inventory.xlsx,” and they reported the precious metal

contents held by Republic for each category. However, the combined weights of the precious

metals shown on the three charts were a fraction of the total quantities necessary to support the

$134,455,218.96 inventory value reported on Republic’s trial balance.

       28.     To close the substantial gap between the value of the precious metals calculable

from Republic’s “bars,” “sweeps,” and “vault” inventory charts and the $134 million value on the

trial balance, on April 25, 2017, Republic’s CFO, Comite, provided Eisner with another chart

entitled “au-ag refinery calculation.” According to the “au-ag refinery calculation,” Republic

estimated that its “refinery” inventory contained an additional 29,550 troy ounces of gold (worth

$34 million at year end 2016 prices) and 6,304,000 ounces of silver (worth $102,376,960 at year

end 2016 prices), which were stored in 1,973 drums of hydroxide sludge. The quantities shown on

the “au-ag refinery calculation” were not based on actual inventory counts but were estimates

derived from historical data. In fact, the calculations were bogus, and the quantities did not exist.

       29.     Incredibly, despite the materiality of the inventory values at issue, the significant

risk of misstatement, the numerous testing requirements under GAAS for inventory specifically

and significant balance sheet items generally, and the auditor’s general duty of skepticism, Eisner



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performed no audit procedures to test or verify Comite’s “au-ag refinery calculation.” Instead, it

relied entirely on the say-so of the CFO of the company that it was auditing.

       30.     Eisner did not even physically inspect or count the drums. Comite obtained (and

forwarded to Eisner) an email from an employee in Republic’s wastewater processing facility, who

reported on February 17, 2017 that “We have a total of 1,973 drums of high grade hydroxides left.”

Eisner accepted that figure as accurate without verifying it.

       31.     Despite being required to do so under GAAS,

               (a)     Eisner did not observe, conduct or verify a physical inventory count of the

drums of hydroxide;

               (b)     Eisner did not observe or weigh the hydroxide drums or a random sample

to verify that the weights in inventory matched the weights from the historical lots shown on the

“au-ag refinery calculation”;

               (c)     Eisner did not test the contents of the hydroxide drums or a random sample

of the drums to verify their supposed precious metal contents;

               (d)     Eisner did not ascertain the cost or feasibility of extracting the gold and

silver from the hydroxide;

               (e)     Eisner did not ascertain or verify that the hydroxide sludge could or would

be refined and sold within one year or that it was to be sold or consumed within the normal

operating cycle, which are the characteristics of a “current” asset;

               (f)     Eisner did not investigate or validate Republic’s method for valuing the

inventory of hydroxide sludge based on prior data shown on the “au-ag refinery calculation”;

               (g)     Eisner did not obtain a sufficient understanding of the derivation and

meaning of the historical data on the “au-ag refinery calculation:” and



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               (h)     Eisner did not inquire why the drums of “high grade hydroxides,” which

were now the largest component of Republic’s inventory, were not even listed in Republic’s

inventory “narrative.” The only “drums” identified in the narrative were those included in

“sweeps” and were described as containing “low grade materials.”

       32.     Had Eisner performed even one of the above-listed procedures, it would have

immediately recognized that Comite’s inventory valuation methodology was flawed and

unreliable:

               (a)     First, had Eisner required an independent valuation of the hydroxide barrels

or a statistically appropriate sample, it would have ascertained that they had little or no value. This

type of testing is easily done and is a standard procedure for an auditor.

               (b)     Second, had Eisner investigated Republic’s valuation methodology, it

would have easily determined its invalidity. Republic’s methodology valued current inventory by

extrapolating from purported historical data. But it was an apples-to-oranges comparison. The

majority of the current inventory of hydroxide sludge was created at the end of the refining process

(in the wastewater process), after virtually all the valuable materials had been refined out. By

comparison, the historical data on the “au-ag refinery calculation” was based on precious metal

recoveries obtained from byproducts during the main refining process when larger amounts of

valuable materials were present. Also, the current inventory was valued on a per-drum basis. By

comparison, the historical data in the “au-ag refinery calculation” included lots that aggregated

multiple drums (all of variable weights) collected over weeks or months of refining.

               (c)     Third, had Eisner questioned Comite about the historical data set on the “au-

ag refinery calculation,” it would have instantly recognized that it was not a reliable basis for

estimating current inventory values. The descriptions of the lots in this historical data refer to “pre-



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precip” or “pre-precipitation.” Eisner should have inquired whether the current inventory of

hydroxides was “pre-” (when silver content is extremely high) or “post-” (when it is extremely

low) precipitation—it was the latter. The descriptions in the data also contain date ranges for each

clean up bar (which was the nomenclature and numbering system used on the chart to describe

each lot). The ranges differed: some were collected in one month; others were collected over

several months. As a result, the weights varied dramatically (a low of 40 pounds to a high of 1,500

pounds). The variability should have alerted Eisner to the plain fact that the “clean up” bars shown

on the chart did not equate to a single 55-gallon drum and that it was unreasonable to assume,

without any testing or independent validation, that the 1,973 drums in current inventory had the

same average weight as the 160 line-item clean-up bars on the “au-ag refinery calculation” chart.

               (d)     Fourth, had Eisner conducted a physical inspection of the drums, their

storage, and Republic’s record keeping, which could have been done easily and is required under

GAAS, it would have observed that Republic’s inventory controls, storage methods, and tracking

methodologies were insufficient and unreliable.

               (e)     Finally, an auditor reasonably knowledgeable in the industry, as Eisner was

required to be, would have known that it was implausible that a refinery would hold nearly two

thousand drums of hydroxide sludge, generated as byproducts of the refining process, with the

average drum containing precious metals worth more than $69,000. Indeed, it is known in the

industry (and disclosed in the Republic’s own inventory narrative) that a refiner often pays others

to dispose of these materials as they contain insufficient value to justify the cost of storage and

extraction.

       33.     On May 30, 2017, Eisner issued a clean audit opinion for Republic’s financial

statements for the fiscal year ending December 31, 2016.



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       34.     In its audit opinion, Eisner stated that it had conducted its audit of Republic “in

accordance with auditing standards generally accepted in the United States of America”, which it

summarized as requiring it to “plan and perform the audit to obtain reasonable assurance about

whether the financial statements are free from material misstatement.” Eisner assured that in

issuing its opinion it had obtained “audit evidence” that was “sufficient and appropriate to provide

a basis” for its “audit opinion.”

       35.     With its assurance of having followed GAAS and of having obtained sufficient

audit evidence to support its audit opinion, Eisner concluded: “In our opinion, the combined

financial statements referred to above present fairly, in all material respects, the financial position

of Republic Metals Corporation and Affiliates as of December 31, 2016, and the combined results

of their operations and their cash flows for the year then ended in accordance with accounting

principles generally accepted in the United States of America.”

       36.     In issuing a clean audit opinion for Republic’s financial statements for 2016, Eisner

breached the duty of care to which accounting professionals are held in conducting independent

audits. Eisner’s auditors had insufficient knowledge of the industry and of the specific inventory

that they were auditing to evaluate the information provided by Republic; they failed to conduct

appropriate inquiries or obtain sufficient audit evidence to support the inventory valuation; they

failed to obtain advice from an industry expert on how to value the hydroxides; they failed to

follow an auditor’s duty of skepticism; they failed to ensure that Republic had adequate accounting

controls in place for inventory; all despite the materiality of the inventory at issue and the red-flag

warnings that Republic’s information and representations were false.

       37.     As a direct result of these failures, Eisner issued its clean audit opinion for

Republic’s financial statements for the year ended December 31, 2016, even though the balance



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sheet falsely reported an inventory value of $134.8 million (of which $113.8 million was described

as silver inventory), mainly consisting of the purported precious metal contents of the drums of

hydroxide sludge, which were worth only a small fraction of that amount.

         38.   Eisner’s failures as an auditor were not detected until 2018, in connection with the

preparation of the year-end financial statements for 2017. For the 2017 financial statements,

Republic’s CFO, Comite, decided to recompute Republic’s “refinery” inventory based on a lower

per-barrel valuation. Reducing inventory instantly created a loss for 2017 (lower ending inventory

means higher “costs of goods sold”). The revaluation and loss raised significant questions with

Republic’s secured creditors.

         39.   On June 8, 2018, Republic hired Eisner to conduct a forensic analysis of its

inventory and to advise regarding the discrepancies. Specifically, Eisner’s forensic team was hired

to attend a physical inventory count (occurring on June 9-11, 2018) and compare the inventory

weights observed to Republic internal reports, which had been the basis for the financial

statements’ reported inventory figures.

         40.   Although Eisner’s work done in June 2018 was nominally “forensic” and on a

“consulting” basis, in fact, Eisner did in 2018 what it should have done for the 2016 year-end audit.

Its 2018 “forensic” objective, to understand Republic’s inventory processes and count the

inventory, is indistinguishable from what should have been its “audit” plan and objective a year

prior.

         41.   The conclusion of the forensic team was inevitable: Eisner was able to reconcile

Republic’s finished inventory and other observable components of inventory but was forced to

exclude the “hydroxide barrels stored in the Warehouse,” from the calculation. As to them, Eisner

observed that they “required further refining” before a value could be assigned. It noted that the



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hydroxide barrels were unlabeled and untested, and it directed that Republic “process a selection

of barrels that we randomly select to identify the actual metal content.”

       42.     To summarize its finding, Eisner’s forensic team produced the following inventory

summary for inventory value as of June 2018 – with the line item for “Warehouse (Hydroxide

Barrels)” blank (“TBD”) because the value could not be determined:




       The Lenders’ Reliance on Eisner’s Audits

       43.     From December 2014 on, Republic funded its working capital needs by drawing on

credit facilities governed by an Intercreditor Agreement between Republic and a group of financial

institutions and precious metals lessors, who are either Plaintiffs here or their predecessors in

interest (collectively, the “Lenders”).

       44.     The Intercreditor Agreement provided the common framework for the Lenders to

extend secured credit facilities to Republic in the form of cash loans and precious metals leases.

The Intercreditor Agreement defined a common borrowing base for the Intercreditor facilities and

required Republic to provide a Borrowing Base Report at regular intervals. The Intercreditor

Agreement defined the borrowing base as “an amount equal to the sum of certain asset categories

of [Republic] (principally accounts receivable and inventory).” The Intercreditor Agreement also


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enabled the Lenders to share equally in all collateral securing Intercreditor facilities and in all

recoveries obtained by any Lender.

       45.     The Intercreditor Agreement contemplated that some Lenders would potentially

terminate their participation in the Intercreditor group and that others would join from time-to-

time. It provided expressly that “[a]ny bank or financial institution which is not a party to this

Agreement initially may, with the consent of each of the other [Lenders], become a party hereto

and hereafter be deemed a [Lender] hereunder.”

       46.     The Intercreditor Agreement was amended from time to time, including in February

2016, but at all relevant times contained the provisions discussed in paragraphs 44 and 45.

       47.     Plaintiff Mitsubishi was a party to the Intercreditor Agreement from December

2014 and provided Intercreditor credit facilities by leasing gold and silver to Republic.

       48.     Mitsubishi received, reviewed, and relied on Eisner’s audit of Republic’s 2016

financial statements in continuing to execute leases of gold and silver to Republic, pursuant to the

Intercreditor credit facilities. At the time of Republic’s bankruptcy petition, Republic owed

Mitsubishi approximately $54,278,000 under the Intercreditor Agreement metal leases.

       49.     On February 19, 2016, the Intercreditor Agreement was amended and restated to,

among other things, add Plaintiff Hapoalim as a party. It was a requirement of the Hapoalim credit

facility that Republic provide the bank with copies of its annual audited financial statements within

150 days of the close of each fiscal year, “prepared by independent public accountants reasonably

acceptable to the Bank.”

       50.     Hapoalim received, reviewed, and relied on Eisner’s audit of Republic’s 2016

financial statement in continuing to lend money and extending the maturities of existing loans to

Republic pursuant to the Intercreditor credit facilities. At the time of Republic’s bankruptcy



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petition, Republic owed Hapoalim approximately $11,373,000 in Intercreditor Agreement loans.

         51.   On March 24, 2016, Plaintiff ICBCS became a party to the Intercreditor Agreement.

         52.   ICBCS received, reviewed, and relied on Eisner’s audit of Republic’s 2016

financial statements in continuing to lease metal to Republic pursuant to the Intercreditor credit

facilities. At the time of Republic’s bankruptcy petition, Republic owed ICBCS approximately

$20,034,000 under Intercreditor Agreement metals leases.

         53.   On June 24, 2016, Plaintiff BBH became a party to the Intercreditor Agreement and

extended credit facilities to Republic. It was a requirement of the BBH credit facility that

Republic’s annual financial statements be “audited by Crowe Horwath or a firm acceptable to the

Bank” and provided to BBH within 150 days of the end of each fiscal year.

         54.   BBH received, reviewed, and relied on Eisner’s audits of Republic’s 2016 financial

statements in continuing to lend money to Republic pursuant to the Intercreditor credit facilities.

At the time of Republic’s bankruptcy petition, Republic owed BBH approximately $9,098,000

under Intercreditor Agreement loans.

         55.   On June 27, 2017, Plaintiff Rabobank became a party to the Intercreditor

Agreement and executed a credit facility with Republic. It was a requirement of the credit facilities

that Republic deliver copies of its audited financial statements to Rabobank within 150 days of the

fiscal year end.

         56.   Rabobank received, reviewed, and relied on Eisner’s audit of the Republic’s 2016

financial statements in entering into Intercreditor credit facilities with Republic and in lending

money to Republic pursuant to these credit facilities. At the time of Republic’s bankruptcy

petition, Republic owed Rabobank approximately $31,730,000 under Intercreditor Agreement

loans.



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        57.      On June 27, 2017, Plaintiff Techemet became a party to the Intercreditor

Agreement and entered into metal leasing agreements with Republic. It was a requirement of the

agreements that Republic deliver copies of its annual audited financial statements to Techemet.

        58.      Techemet received, reviewed, and relied on Eisner’s audit of Republic’s 2016

financial statements in executed leasing agreements, pursuant to the Intercreditor Agreement, with

Republic and, pursuant to them, leasing metals to Republic. At the time of Republic’s bankruptcy

petition, Republic owed Techemet approximately $14,477,000 under Intercreditor Agreement

metals leases.

        59.      On October 31, 2017, Woodforest became a party to the Intercreditor Agreement

and executed credit facilities with Republic. It was a requirement of the credit facilities that

Republic deliver copies of its audited financial statements to Woodforest within 150 days of the

fiscal year end.

        60.      Woodforest received, reviewed, and relied on Eisner’s audit of Republic’s 2016

financial statements in entering into Intercreditor credit facilities with Republic and in loaning

money to Republic pursuant to those facilities. At the time of Republic’s bankruptcy petition,

Republic owed Woodforest approximately $13,648,000 under Intercreditor Agreement loans.

        61.      On October 31, 2017, Leumi became a party to the Intercreditor Agreement and

entered into Intercreditor credit facilities with Republic. It was a requirement of the credit facilities

that Republic deliver copies of financial statements to Leumi within 150 days of the fiscal year

end.

        62.      Leumi received, reviewed, and relied on Eisner’s audit of Republic’s 2016 financial

statements in entering into Intercreditor credit facilities with Republic and in loaning money to

Republic pursuant to those facilities. At the time of Republic’s bankruptcy petition, Republic



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owed Leumi approximately $22,746,000 under Intercreditor Agreement loans.

       Eisner’s Duties to The Lenders

       63.     As Republic’s auditor, Eisner knew that Republic depended on the Intercreditor

facilities described above, and that Republic would be providing Republic’s audited financial

statements to the Lenders.

       64.      The 2016 audited financial statements note that “In February 2016, the Company

and various creditors entered into the Second Amended and Restated Intercreditor Agreement

including notes payable and metal leases” and that “the agreement has been amended and certain

information on outstanding balances is included below.” The financial statements proceed to note

the terms of various loans with origination dates of November 15, 2014, January 29, 2016, and

May 26, 2016, to represent that Republic was in compliance with various financial covenants

applicable to these credit facilities, to describe Republic’s metals leases with multiple “financial

institutions,” and to represent the total amount of Republic’s borrowings as of December 31, 2016.

The audited financial statements also summarize the Intercreditor Agreement’s borrowing base

and the associated limitations on Republic’s total borrowings. Specifically, the 2016 audited

financial statements note that “The Company’s borrowings under its agreements with the financial

institutions are subject to a borrowing base. Total borrowings cannot exceed 90% of the market

value of its inventory and advances, or 90% of its accounts receivable.”

       65.      Given Eisner’s knowledge of the Intercreditor Agreement and related loans and

leases and their terms, Eisner knew and expected that Republic would share the audited financial

statements with the Lenders and that the Lenders were relying on them in making lending

decisions.

       66.     Indeed, Eisner had direct communications with the Lenders, including to confirm



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information for purposes of the audit and to substantiate its qualifications and experience to serve

at Republic’s auditor.

       67.     Because of Eisner’s knowledge concerning the Lenders and their reliance on the

audited financial statements, Eisner had a duty of care to the Lenders, which it breached in issuing

a clean audit for the financial statements described above.

       Republic’s Bankruptcy

       68.     Republic never issued audited financial statements for 2017, and the reduction in

inventory value ultimately led to Republic’s default under its agreements with the Lenders and to

Republic’s bankruptcy.

       69.     Republic and certain of its affiliates filed voluntary petitions for bankruptcy relief

on November 2, 2018. At the time of the petition, Republic owed more than $177 million to the

Lenders who had relied on Eisner’s audits.

                                               COUNT I
                                       Negligent Misrepresentation

       70.     Plaintiffs reallege and incorporate each of the allegations set forth in ¶¶ 1 through

69 as though set forth here in full.

       71.     Eisner issued an audit report for Republic’s financial statements for 2016 that

falsely represented Republic’s financial condition, including the value of Republic’s inventory.

These misrepresentations were material to Republic’s financial condition and to persons relying

on the audited financial statements.

       72.     Eisner should have known that the inventory valuation was false, and Eisner failed

to exercise reasonable care and to conduct reasonable inquiries, as would be expected of an

independent auditor under the circumstances, to ensure that the valuation was reasonably accurate.

       73.     Eisner knew that Republic would transmit the 2016 audited financial statements to


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the creditors in general and, specifically, to the Lenders, and Eisner thus expected and intended

that the audited financial statements would reach and would influence such financial institutions

and precious metals lessors. Eisner’s understanding of the Lenders’ reliance on the audited

financial statements is further evidenced by its written communications with Republic concerning

the Lenders, and its written communications directly with the Lenders.

       74.     The Lenders received and justifiably relied on Republic’s 2016 audited financial

statements.

       75.     The Lenders relied on the misrepresentations in the 2016 financial statements to

their detriment in lending money and leasing metal to Republic based on materially false

representations of Republic’s financial condition and its compliance with covenants. But for the

misrepresentations of Republic’s financial condition in the audited 2016 financial statements, the

Lenders would not have extended these loans and leases to Republic and would have terminated

any outstanding loans or leases.

       76.     As a result of the Lenders’ reliance on the audited financial statements, Plaintiffs

have been injured in an amount in excess of $61.5 million.

                                          COUNT II
                                        Gross Negligence

       77.     Plaintiffs reallege and incorporate each of the allegations set forth in ¶¶ 1 through

76 as though set forth here in full.

       78.     Eisner’s negligence was so extreme that it constituted a reckless indifference to the

rights of others and, particularly, the Lenders, who loaned and leased millions of dollars and

precious metals in reliance on the accuracy and validity of Republic’s audited financial statements.

       79.     Eisner knew that the Lenders, who were extending credit to Republic based on a

“borrowing base,” for which inventory was a major component, would be relying on Republic’s


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audited financials.

       80.     Eisner’s reckless indifference included, among other grossly negligent acts and

omissions, its issuance of a clean audit opinion for Republic’s 2016 financial statements without

making any reasonable or discernable effort to assure that Republic had fairly and accurately

valued the largest and most material asset on its balance sheet, the inventory, or that Republic had

adequate internal controls to assure the accuracy of management’s accounting for inventory.

       81.     Eisner’s reckless indifference also included, among other grossly negligent acts and

omissions, its failure to obtain a basic understanding of Republic’s business and the precious

metals refining industry before taking on an audit assignment.

       82.     The Lenders justifiably relied on Eisner’s audit of Republic’s financial statements

in agreeing to extend credit to Republic and to do so on a secured lending basis.

       83.     As a result of the Lenders’ reliance on the audited financial statements, Plaintiffs

have been injured in an amount in excess of $61.5 million.

                                            COUNT III
                                              Fraud

       84.     Plaintiffs reallege and incorporate each of the allegations set forth in ¶¶ 1 through

83 as though set forth here in full.

       85.     Eisner’s clean audit opinion of Republic Metals 2016 financial statements (i.e., that

the financial statements present fairly, in all material respects, the financial position of Republic

as of December 31, 2016) was a false statement in that Eisner’s opinion included the representation

that it had conducted its audit procedures in accordance with GAAS when it knew that it had not.

The audit opinion was also false in that Eisner claimed that “the audit evidence we have obtained

is sufficient and appropriate to provide a basis for our audit opinion.”

       86.     Eisner acted recklessly in issuing its audit opinion for Republic. Eisner’s auditing


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practices were so deficient that the audit amounted to no audit at all. It failed to test the single

largest item on Republic’s balance sheet: current inventory. It took no steps to verify the quantities,

weights, and contents of the hydroxide barrels. It unquestionably accepted Republic’s

methodology for valuing the inventory, without understanding the calculation, much less testing

its validity. It also observed but failed to react to clear indications that Republic’s methods were

utterly and obviously deficient, including the very data that Republic’s CFO, Comite, had supplied

to Eisner to derive its current inventory valuations. Eisner also knew that Republic claimed to

possess in these 1,973 hydroxide drums nearly 7 million ounces of silver and 15.5 thousand ounces

of gold, which together would weigh about 437,500 pounds. That translates into 221 pounds of

precious metal per drum. It would have been clear and obvious to Eisner that drums filled with

byproducts from the refining process could not possibly contains such massive quantities of

precious metals. Nor is it feasible that such quantities of precious-metal-rich byproduct could be

generated within the regular yearly business cycle, raising significant questions about when these

byproducts were generated and why they were being classified as current assets.

       87.     Eisner knew that the Lenders, who were extending credit to Republic based on a

“borrowing base,” for which inventory was a major component, would be relying on Republic’s

audited financials and the fact that Republic’s financials were being audited.

       88.     The Lenders, who loaned and leased millions of dollars and precious metals,

reasonably and justifiably relied on the accuracy and validity of Republic’s audited financial

statements and on the assurance that an auditor, here Eisner, was auditing their borrower, Republic,

in accordance with GAAS.

       89.     The Lenders justifiably relied on Eisner’s audit of Republic’s financial statements

in agreeing to extend credit to Republic and to do so on a secured lending basis.



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          90.    But for Eisner’s false statements, the Lenders would not have loaned money, leased

metals, or extended existing credit facilities to Republic. Eisner’s false statements proximately

caused the Lenders’ losses.

          91.    As a result of the Lenders’ reliance on the audited financial statements, Plaintiffs

have been damaged in an amount in excess of $61.5 million.

                                      RELIEF REQUESTED

          WHEREFORE, Plaintiffs respectfully request judgment on their Complaint as follows:

          A.     Awarding Plaintiffs compensatory damages in an amount to be determined at trial.

          B.     Awarding Plaintiffs such other or additional relief as the Court finds to be just and

proper.


 Dated: April 3, 2020                               Respectfully Submitted

                                                    Andrew T. Solomon
                                                    SOLOMON & CRAMER LLP
                                                    1441 Broadway, Ste. 6026
                                                    New York, New York 10018
                                                    (t) 212-884-9102
                                                    (f) 516-368-3896
                                                    asolomon@solomoncramer.com

                                                    And

                                                    SCOTT JAY FEDER, P.A.
                                                    4649 Ponce de Leon Blvd., Ste. 402
                                                    Coral Gables, Florida 33146
                                                    (t) 305-669-0060
                                                    (f) 305-669-4220
                                                    Scottj8@aol.com
                                                    assistantscottjfeder@hotmail.com

                                                    Attorneys for Plaintiffs




                                                  23
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                             EXHIBIT 2
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            CIVIL, FAMILY AND PROBATE COURTS ONLINE SYSTEM

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              COOPERATIEVE RABOBANK U.A,. NEW YORK BRANCH ET AL VS EISNERAMPER LLP


                                         Local Case Number:           2020-007685-CA-01                                           Filing Date:     04/03/2020

                                         State Case Number:           132020CA007685000001                                    Judicial Section:    CA44

                                     Consolidated Case No.:           N/A                                                          Case Type:      Business Torts

                                                   Case Status:       OPEN




               Parties                                                                                                                           Total Of Parties: 10   

               Hearing Details                                                                                                                   Total Of Hearings: 1   




                                                                                                                                                                             HAVE FEEDBACK?
               Dockets                                                                                                                           Total Of Dockets: 17   

                                                                                 Docket        Event
                              Number          Date             Book/Page         Entry         Type      Comments

                                              06/03/2020                         Special       Hearing   CMC
                                                                                 Sets

                              15              05/12/2020                         Order:        Event     NOTICE AND ORDER OF ADHERENCE TO COMPLEX BUSINESS
                                                                                                        LITIGATION SECTION PROCEDURES AND NOTICE OF HEARING AND
                                                                                                         ORDER ON CASE MANAGEMENT CONFERENCE

                              14              05/08/2020                         Notice of     Event     JUNE 3, 2020 @ 10:30 AM/ ROOM DCC 1307
                                                                                Hearing-

                              12              05/06/2020                         Receipt:      Event     RECEIPT#:2350065 AMT PAID:$100.00 NAME:FEDER, SCOTT JAY 4649
                                                                                                         PONCE DE LEON BLVD CORAL GABLES FL 33146-2114 COMMENT:
                                                                                                         ALLOCATION CODE QUANTITY UNIT AMOUNT 3176-NON-FLA
                                                                                                         ATTORNEY F 1 $100.00 $100.00 TENDER TYPE:E-FILING ACH TENDER
                                                                                                         AMT:$

                              13              05/05/2020                         Order:        Event     ON MOTION FOR ADMISSION TO APPEAR PRO HAC VICE IS
                                                                                                        GRANTED.


                              11              05/04/2020                         Motion for    Event
                                                                                Pro Hac
                                                                                 Vice

                              10              04/29/2020                         Email         Event     EMAIL ADDRESS:
                                                                                Notice:

                              9               04/27/2020                         Order:        Event     NOTICE AND ORDER OF ADHERENCE TO COMPLEX BUSINESS
                                                                                                        LITIGATION SECTION PROCEDURES

                              8               04/27/2020                         Order:        Event     MANDATORY ORDER TO CONFER AND CERTIFICATION REQUIREMENT
               

                              7               04/27/2020                         Order:        Event     ON MOTIONS AND MEMO REQUIREMENTS
               




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                                                                                 Docket        Event
                              Number          Date             Book/Page         Entry         Type            Comments

                                              04/14/2020                         20 Day        Service
                                                                                 Summons
                                                                                 Issued

                              6               04/14/2020                         ESummons      Event           Parties: EISNERAMPER LLP
                                                                                20 Day
                                                                                 Issued

                              5               04/09/2020                         Receipt:      Event           RECEIPT#:2340165 AMT PAID:$10.00 NAME:FEDER, SCOTT JAY 4649
                                                                                                               PONCE DE LEON BLVD CORAL GABLES FL 33146-2114 COMMENT:
                                                                                                               ALLOCATION CODE QUANTITY UNIT AMOUNT 3139-SUMMONS ISSUE
                                                                                                               FEE 1 $10.00 $10.00 TENDER TYPE:E-FILING ACH TENDER AMT:$10

                              4               04/07/2020                         (M) 20 Day    Event
                                                                                (P)
                                                                                 Summons
                                                                                 (Sub)
                                                                                 Received

                              3               04/04/2020                         Receipt:      Event           RECEIPT#:2370066 AMT PAID:$411.00 NAME:FEDER, SCOTT JAY 4649
                                                                                                               PONCE DE LEON BLVD CORAL GABLES FL 33146-2114 COMMENT:
                                                                                                               ALLOCATION CODE QUANTITY UNIT AMOUNT 3100-CIRCUIT FILING
                                                                                                               FEE 1 $401.00 $401.00 3102-MULTIPLE DEFENDANT 1 $10.00 $10.

                              2               04/03/2020                         Complaint     Event
                 

                              1               04/03/2020                         Civil Cover   Event
                                                                                Sheet -
                                                                                 Claim




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                                                                                 Amount
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                             EXHIBIT 3
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        IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.
        IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.

        DIVISION                                         SUMMONS 20 DAY CORPORATE SERVICE                          CASE NUMBER
        CIVIL OTHER                                  (a) GENERAL FORMS                                         2020-007685-CA-01
        DISTRICTS
        PLAINTIFF(S)                                     VS. DEFENDANT(S)                                          SERVICE

        Coöperatieve Rabobank U.A.,
        New York Branch, Brown Brothers
        Harriman & Co., et al.,

        THE STATE OF FLORIDA:                                                                                      CLOCK IN

        To Each Sheriff of the State:

        YOU ARE COMMANDED to serve this summons and copy of the complaint or petition in this
        action on defendant(s): EISNERAMPER LLP c/o Registered Agent, Corporate Service
        Company, 1201 Hays Street, Tallahassee, FL 32301.


        Each defendant is required to serve written defense to the complaint or petition on

        Plaintiff’s Attorney:       Scott Jay Feder, Esq.
                                    Scott Jay Feder, P.A.

        whose address is: 4649 Ponce de Leon Blvd, Suite 402, Coral Gables, FL 33146
        ________________________________________________________________________
        ________________________________________________________________________
        within 20 days “ Except when suit is brought pursuant to s. 768.28, Florida Statutes, if the State of Florida, one of its agencies,
        or one of its officials or employees sued in his or her official capacity is a defendant, the time to respond shall be 40 days.
        When suit is brought pursuant to. 768.28, Florida Statutes, the time to respond shall be 30 days.” after service of this summons
        on that defendant , exclusive of the day of service, and to file the original of the defenses with the Clerk of this Clerk Court either before
        service on Plaintiff’s attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant for
        the relief demanded in the complaint or petition.
                                                                                                                                   DATE
                      HARVEY RUVIN

                     CLERK of COURTS                                       DEPUTY CLERK




                                                AMERICANS WITH DISABILITIES ACT OF 1990
                                                                    ADA NOTICE
        “If you are a person with a disability who needs any accommodation in order to participate in this proceeding, you are entitled,
        at no cost to you, to the provision of certain assistance. Please contact the Eleventh Judicial Circuit Court’s ADA Coordinator,
        Lawson E. Thomas Courthouse Center, 175 NW 1st Ave., Suite 2702, Miami, FL 33128, Telephone (305) 349-7175; TDD (305)
        349-7174, Fax (305) 349-7355 at least 7 days before your scheduled court appearance, or immediately upon receiving this
        notification if the time before the scheduled appearance is less than 7 days; if you are hearing or voice impaired, call 711.”
        CLK/CT. 314 Rev. 02/16                                                                         Clerk’s web address: www.miami-dadeclerk.com
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                             EXHIBIT 4
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                             EXHIBIT 5
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2020-007685-CA-01
         SECTION: CA44
         JUDGE: William Thomas

         COOPERATIEVE RABOBANK U.A,. NEW YORK BRANCH et al
         Plaintiff(s)

         vs.

         EISNERAMPER LLP
         Defendant(s)
         ____________________________/

                            ORDER ON MOTIONS AND MEMO REQUIREMENTS


         This case is pending in the Complex Business Litigation division, and must follow the

         Complex Business Litigation rules. In addition, it is


                ORDERED and ADJUDGED as follows:


                                                      Short Motions


                As a general rule, ten-minute Motion Calendar motions do not require memoranda of law. Copies

         of motions and any response shall be submitted through CourtMap in accordance with the Court’s motion

         calendar procedures posted on its website.


                                     Motions Requesting a Special Set Hearing


                Hearings must be requested using CourtMap which is available on the judge’s webpage. Motions

         may be scheduled or ruled upon without a hearing, in the court’s discretion.


                Content of motions shall state with particularity the grounds therefore, citing any statute or

         rule of procedure relied upon; shall set forth the relief sought and shall include the required certification

         of conferral. The Court will not consider issues at a hearing on the motion that were not addressed in the


   Case No: 2020-007685-CA-01                                                                                    Page 1 of 3
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      motion and memoranda in support of and in opposition to the motion.


                                                Memoranda Requirements


               These requirements and deadlines may not be waived or altered except by court

      order.


               ALL motions, opposition to motions and replies are REQUIRED to be emailed in

      WORD FORMAT to CBL44DOCS@jud11.flcourts.org


               Failure to File and Serve Motion Materials: CBL 4.4              A motion or opposition

      unaccompanied by a required memorandum may be summarily rejected or denied. Failure to timely file

      a memorandum in opposition to a motion may result in the pending motion being considered and decided

      as an uncontested motion. Motion briefing deadlines are court orders.

               Motion            Memoranda of law           Page limit          Time deadline

          Motion filed by        As required by CBL             20             When filing the       Memos which are not
             movant                     rules                                     motion             filed with the motion
                                                                                                      will be disregarded


       Opposition to motion       At time of filing             20           10 days after service     If no response is
                                opposition, if needed                             of motion            timely filed, the
                                                                             as computed in Fla.      Court will proceed
                                                                               R. Civ. P. 1.090       and may grant the
                                                                                                     motion as unopposed


                Reply            If needed, limited to          10           5 days after service    If no reply is timely
                                 matters raised in the                          of opposition        filed, the Court will
                                      opposition                             as computed in Fla.            proceed
                                                                               R. Civ. P. 1.090


               Sur-reply        With Court
                                permission only




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             Motions Decided on Papers and Memoranda: Motions may be considered and decided by

      the Court without a hearing. CBL 4.5 A hearing is at the discretion of the Court.


                                         Sealed and Confidential Documents


             Sealed or confidential documents should be e-filed pursuant to the instructions on the Clerk’s e-

      filing portal. In Camera inspections shall be conducted as instructed by the Court.

      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 27th day of April,
      2020.




                                                                  2020-007685-CA-01 04-27-2020 4:46 PM
                                                                     Hon. William Thomas

                                                                      CIRCUIT COURT JUDGE
                                                                      Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Electronically Served:
      Scott Jay Feder, assistantscottjfeder@hotmail.com
      Scott Jay Feder, scottj8@aol.com


      Physically Served:




Case No: 2020-007685-CA-01                                                                               Page 3 of 3
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                             EXHIBIT 6
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2020-007685-CA-01
         SECTION: CA44
         JUDGE: William Thomas

         COOPERATIEVE RABOBANK U.A,. NEW YORK BRANCH et al
         Plaintiff(s)

         vs.

         EISNERAMPER LLP
         Defendant(s)
         ____________________________/

                   MANDATORY ORDER TO CONFER AND CERTIFICATION REQUIREMENT


         This case is subject to the Complex Business Litigation Rules. The rules require that parties meet and

         confer prior to filing any motion to determine if issues can be narrowed, the appropriate amount of time

         required for hearing if hearing is requested, and any other issues such as the completion of related

         discovery. Meet and Confer under these rules requires an actual effort between attorneys, not staff.




         It is therefore: ORDERED and ADJUDGED as follows:


                     All parties to a motion must meet the conferral requirements of the division. The motion must

         contain a certification of the efforts at meet and confer, which shall include:

               ●   A description of all efforts at a meet and confer, including names of movant and respondent

                   attorneys, dates and method (email, telephone, live meeting) requesting a meet and confer;

                   and
               ●   A description of all dates for meet and confer actually held and the method and names of

                   participating attorneys; and
               ●   Results achieved, including consensus as to amount of time required for hearing, if

                   granted.


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          The only motions exempt from the meet and confer requirement are Motions for Injunctive Relief

      Without Notice; Motions for Summary Judgment and Motions to Amend to Add Punitive Damages.

      ANY OTHER MOTION submitted without a certificate of conferral will be rejected by the Court without

      prejudice.

      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 27th day of April,
      2020.




                                                             2020-007685-CA-01 04-27-2020 4:47 PM
                                                                Hon. William Thomas

                                                                 CIRCUIT COURT JUDGE
                                                                 Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Electronically Served:
      Scott Jay Feder, assistantscottjfeder@hotmail.com
      Scott Jay Feder, scottj8@aol.com


      Physically Served:




Case No: 2020-007685-CA-01                                                                           Page 2 of 2
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                             EXHIBIT 7
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2020-007685-CA-01
         SECTION: CA44
         JUDGE: William Thomas

         COOPERATIEVE RABOBANK U.A,. NEW YORK BRANCH et al
         Plaintiff(s)

         vs.

         EISNERAMPER LLP
         Defendant(s)
         ____________________________/

           NOTICE AND ORDER OF ADHERENCE TO COMPLEX BUSINESS LITIGATION
                                SECTION PROCEDURES




                 WHEREAS, the Complex Business Litigation Procedures shall apply to all actions in the

         Complex Business Litigation Section and Fla. R. Civ. P. 1.201 Complex Litigation, except to the

         extent that, in any particular action, they are superseded by an Order.


                 WHEREAS, the Complex Business Litigation Procedures are designed to facilitate the

         proceedings of cases by the Eleventh Judicial Circuit Complex Business Litigation Section; to
         promote the transmission and access to case information by the Court, litigants, counsel, and the

         public; and to facilitate the efficient and effective presentation of evidence in the courtroom.

         These Procedures shall be construed and enforced to avoid technical delay, encourage civility,

         permit just and prompt determination of all proceedings, and promote the efficient administration

         of justice.


                 NOTICE IS HEREBY GIVEN that all outstanding and future motions pertaining to

         cases within the Complex Business Litigation Section must adhere to Complex Business



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      Litigation Section Procedures, which are available at the court’s website www.jud11.flcourts.org.


             The Parties are ordered to provide courtesy copies of all motions and

      where required, memoranda pertaining thereto, hereinafter filed in this case, to

      the undersigned Judge by email.               Hard copies need not be delivered unless

      requested by chambers. All e-mails must bear the case number first in the

      subject line, followed by the case name.


             MOTIONS, OPPOSITIONS AND REPLIES FILED MUST BE EMAILED IN

      WORD FORMAT TO CBL44DOCS@JUD11.FLCOURTS.ORG


             Any previously filed motion not in compliance with procedures, e.g.,

      memorandum of law where required, must be resubmitted in conformity with the

      Complex Business Litigation Procedures.


             Counsel for Plaintiff(s) and Third Party Plaintiff(s) is/are ORDERED to

      confirm all parties subsequently named or appearing herein have been served copies of this

      Notice. If any subsequently served or named party has not been served with a copy of this

      notice, Plaintiff and Third Party Plaintiff shall provide the party with a copy of this Notice.

              If you are a person with a disability who needs any
      accommodation in order to participate in this proceeding, you are
      entitled, at no cost to you, to the provision of certain assistance.
      Please contact the Eleventh Judicial Circuit Court’s ADA Coordinator,
      Lawson E. Thomas Courthouse Center, 175 NW 1st Ave., Suite 2702,
      Miami, FL 33128, Telephone (305) 349-7175; TDD (305) 349-7174, Fax
      (305) 349-7355 at least 7 days before your scheduled court
      appearance, or immediately upon receiving this notification if the time
      before the scheduled appearance is less than 7 days; if you are
      hearing or voice impaired, call 711.




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      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 27th day of April,
      2020.




                                                          2020-007685-CA-01 04-27-2020 5:06 PM
                                                             Hon. William Thomas

                                                             CIRCUIT COURT JUDGE
                                                             Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Electronically Served:
      Scott Jay Feder, assistantscottjfeder@hotmail.com
      Scott Jay Feder, scottj8@aol.com


      Physically Served:




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                     IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR
                                       MIAMI-DADE COUNTY, FLORIDA

        COOPERATIVE RABOBANK U.A.                                    CIRCUIT CIVIL DIVISION
        NEW YORK BRANCH et al,
             Plaintiff(s),
        vs.                                                          Case Number: 2020-7685-CA-44

        EISNERAMPER LLP
             Defendant(s).
                                                                 /


                                 NOTICE OF DESIGNATION OF EMAIL ADDRESS


        NOTICE OF DESIGNATION OF EMAIL SERVICE ADDRESS OF COMPLEX BUSINESS LITIGATION SECTION
        pursuant to F.R.Jud.Admin. 2.516

        The Eleventh Judicial Circuit, by and through the Court, gives notice that consistent with the Complex
        Business Litigation Rules, all documents filed in this case are to be served on the CBL section by the filing
        party at time of filing.

        The service email address for this case is:

        CBL44@jud11.flcourts.org, this email address has already been added to the service list in the E-portal
        system. Therefore, you do NOT have to email filings directly to the above mentioned email address.




                                                  CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via electronic
        mail through the Florida Court’s E-Portal System to all counsel/parties of record on this 29th day of April
        2020.




                                                                     /s/_Michelle Betancourt__
                                                                     Michelle Betancourt
                                                                     Case Manager
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                             EXHIBIT 9
         18-13359-shl Doc 1784 Filed 05/27/20 Entered 05/27/20 16:32:43 Main Document
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                             EXHIBIT 10
         18-13359-shl Doc 1784 Filed 05/27/20 Entered 05/27/20 16:32:43 Main Document
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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2020-007685-CA-01
         SECTION: CA44
         JUDGE: William Thomas

         COOPERATIEVE RABOBANK U.A,. NEW YORK BRANCH et al
         Plaintiff(s)

         vs.

         EISNERAMPER LLP
         Defendant(s)
         ____________________________/

               ORDER GRANTING MOTION FOR ADMISSION TO APPEAR PRO HAC VICE
                PURSUANT TO FLORIDA RULE OF JUDICIAL ADMINISTRATION 2.510


                  THIS CAUSE came before the Court upon Andrew Solomon’s Verified Motion for

         Admission to Appear Pro Hac Vice pursuant to Florida Rule of Judicial Administration 2.510.

         The Court has carefully considered the Motion, and being otherwise fully advised in the

         premises, it is ORDERED and ADJUDGED:


               1. Said Motion be and is hereby GRANTED.

               2. Andrew Solomon of the law firm of Solomon & Cramer LLP is permitted to appear

                 pro hac vice in this Court as co-counsel to Scott Jay Feder, P.A., and attorney of

                 record for Plaintiffs in the instant case.




   Case No: 2020-007685-CA-01                                                                    Page 1 of 2
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      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 5th day of May,
      2020.




                                                          2020-007685-CA-01 05-05-2020 9:32 PM
                                                             Hon. William Thomas

                                                             CIRCUIT COURT JUDGE
                                                             Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Electronically Served:
      Andrew Solomon, asolomon@solomoncramer.com
      Cbl Section 44 Case Mgr, cbl44@jud11.flcourts.org
      Scott Jay Feder, assistantscottjfeder@hotmail.com
      Scott Jay Feder, scottj8@aol.com


      Physically Served:




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                            EXHIBIT 11
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          COOPERATIEVE RABOBANK U.A,. NEW YORK BRANCH et al
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Cbl Section 44 Case Mgr, cbl44@jud11.flcourts.org
Scott Jay Feder, assistantscottjfeder@hotmail.com
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                            EXHIBIT 12
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                              IN THE CIRCUIT COURT
                          OF THE 11TH JUDICIAL CIRCUIT
                     IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                            Complex Business Litigation Division


COÖPERATIEVE RABOBANK U.A., NEW
YORK BRANCH, BROWN BROTHERS
HARRIMAN & CO., BANK HAPOALIM
B.M., MITSUBISHI INTERNATIONAL
CORPORATION, ICBC STANDARD BANK
PLC, TECHEMET METAL TRADING, LLC,                         Case No. 2020-007685-CA-44
WOODFOREST NATIONAL BANK, and
HAIN CAPITAL INVESTORS MASTER
FUND, LTD.,

       Plaintiffs,

v.

EISNERAMPER LLP,

      Defendant.
_____________________________________/


                            NOTICE OF APPEARANCE AND
                         DESIGNATION OF EMAIL ADDRESSES

       PLEASE TAKE NOTICE that Richard H. Critchlow and Deborah S. Corbishley of Kenny

Nachwalter, P.A. hereby enter their Appearance and Designation of Email Addresses in the above-

captioned matter as counsel for Defendant EisnerAmper LLP and respectfully request that all

pleadings, correspondence, and other papers in connection with this action be sent to them at the

following address:

                                    Richard H. Critchlow
                                Primary e-mail: rhc@knpa.com
                               Secondary e-mail: rma@knpa.com

                                    Deborah S. Corbishley
                                Primary e-mail: dsc@knpa.com
                               Secondary e-mail: mm@knpa.com
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                                 KENNY NACHWALTER, P.A.
                               Four Seasons Tower – Suite 1100
                                    1441 Brickell Avenue
                                      Miami, FL 33131
                                 Telephone: (305) 373-1000
                                  Facsimile: (305) 372-1861



Dated: May 7, 2020                         Respectfully submitted,

                                           s/ Richard H. Critchlow
                                           Richard H. Critchlow, Esq. (FL Bar No. 155227)
                                           Deborah S. Corbishley, Esq. (FL Bar No. 588229)
                                           KENNY NACHWALTER, P.A.
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                                           Email: dsc@knpa.com

                                           Attorneys for Defendant EisnerAmper LLP


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 7, 2020, the foregoing document was electronically

filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

being served this day on all counsel of record via transmission of Notices of Electronic Filing

generated by CM/ECF upon counsel in attached the service list.



                                                   s/ Richard H. Critchlow
                                                   Richard H. Critchlow




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Cooperatieve Rabobank U.A., et al.
v. EisnerAmper LLP
Case No.: 2020-007685 CA-44
                                     SERVICE LIST

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 Attorneys for Plaintiffs




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